          Case 5:21-cv-00080-gwc Document 4-1 Filed 05/25/21 Page 1 of 2


Janua~,2021

Legal Aid Vermont Client Grievance

   1) Plaintiff CLEARLY not only requested.she DEMANDED Kelli to withdraw several times in
      2019 and she did not do so until December 30,2020.
   2) Plaintiff clearly did not request Scott Cassidy to be entered as a payee or permission to
      receive mail being addressed to him. The% was due to shared address of an apartment
      and building. The % is CLEARLY NOT hand writing of plaintiff.Never has this ever been
      an issue.harassment.
   3) Plaintiff told Kelli the review was done and where. She declined to further that info.
      Noting in the denial that SSA failed to enter Dr notes.only counselor.harassment.
   4) Kelli continued to send mail to former address after 1) the client made her aware she
      lived in Barnet. 2) continued to apparently enter notes and make calls after the plaintiff
      demanded she get off the case.
   5) Kelli continued mailing SSA after plaintiff told her to "get to fuck off the case" due to Kelli
      telling plaintiff there was nothing else she could do ,knowing and evaluating as well as
      forwarding info to another attorney.
   6) Another case assigned to a different attorney named Jessica. Plaintiff has the same
      complaints as above listed.
   7) Plaintiff requested records again on December 29,2020 and did not receive.
      Plaintiff did not receive any mail after November 22,2019.
      Plaintiff requested this receive immediate attention by all , including court and did not
      open any received after telling Kelly to sign off as that should have been the end.
      Therefore plaintiff has and had rightfully no way of knowing that Kelli didn't do as
      asked.but continued by taking upon herself to respond. Mind you.she has claimed in
      previous notes she wasnt my attorney only assigned to help. So you tell me why she
      continued?
      Take this letter as intent to sue.
      Kimberly Crosson
       109 Railroad Street #7
      Island Pond.Vt 05846

       (802}323490y      ~~ J)                 &Js.f~
                    l    I'.                   i-a t,     r   2/) 21
              Case 5:21-cv-00080-gwc Document 4-1 Filed 05/25/21 Page 2 of 2


•
    Legal Aid Misconduct and Grievance

    January 4,2021

    Re: Kelly Kazmari,appointed to case
    Re: Annalee.appointed to OHS Case

    Both above named were appointed to represent my cases and neither did so. Last contact with
    either attorney was late months of 2019 when I told them both if they couldn't do the job to
    remove themselves from the case. Neither appointed attorney performed client relation or
    fulfilled case requests. Neither attorney signed off until Dec.30,2020.
    Thus leaving my cases in limbo and violating my rights.I request they be barred.
    I request new representation and through Legal Aid immediately as cases have escalated to
    federal offenses.
    I request a hearing with any and all overseers.
    Kimberly Crosson

        ~ &) Uu:fs.SIYI., IA-/ - 20 l,,/

    , ~ tJ~~                                I ,zh-1£JZJ
       lo 1 1i a:;.IR7Jl4D S'-f '?
       1,s/11,f}t) #oJtJD I    vk~
           3RJJ il~hc~
                L-dk,z.        ,'ttJu,j    /4 S<Le Jr;'lel          u}/462(
